         Case 2:16-cv-02106-PSG-SS                     Document 75 Filed 05/04/17                     Page 1 of 1 Page ID
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                                             UNITED STATES DISTRICT COU                                                       -
                                            CENTRALDISTRICT OF CALIFORNIA
Telesign Corporation                                                     CASE NUMBER:

                                                                                         2:16-cv-02106-PSG-SS
                                                       PLAINTIFFS)
                                   V.
Twilio, Inc.                                                                   ORDER TO STRIKE ELECTRONICALLY
                                                                                     FILED DOCUMENTS)
                                                    DEFENDANTS).


The Court hereby ORDERS the documents listed below be STRICKEN for failure to comply with the Court's
Local Rules, General Orders, and/or Case Management Order, as indicated:

                      5/1/17                    / 68, 70,72, 73 ~           Appl, Oppositio, Sealed Decl, Certificate
                  Date Filed                        Doc. No.                              Title ofDocument
                                                /                  /
                  Date Filed                        Doc. No.                               Title ofDocument
    ❑ Document submitted in the wrong case
    ❑ Incorrect document is attached to the docket entry
    ❑ Document linked incorrectly to the wrong document/docket entry
    ❑ Incorrect event selected. Correct event is
    ❑ Case number is incorrect or missing
    ❑ Hearing information is missing, incorrect, or not timely
    D Local Rule 7.1-1 No Certification of Interested Parties and/or no copies
    ❑ Case is closed
    ❑ Proposed Document was not submitted as separate attachment
    ❑ Title page is missing
    ❑ Local Rule 56-1 Statement of uncontroverted facts and/or proposed judgment lacking
    ❑ Local Rule 56-2 Statement of genuine disputes of material fact lacking
    ❑ Local Rule 7-19.1 Notice to other parties of ex parte application lacking
    ❑ Local Rule 11-6 Memorandum/brief exceeds 25 pages
    ❑ Local Rule 11-8 Memorandum/brief exceeding 10 pages shall contain table of contents
    6ZJ Other: The REDACTED version must be an attachment to the Application to Seal. The REDACTED
               document cannot be filed without Court approval.
               Failure to comply with Local Rule Re Mandatory Chambers Copi as to document #68.



Dated:                ~~~~' ~                                           By.
                                                                              U.S. Di tri Judge / ~-~4ag~s~a#~e~ge
cc: Assigned District and/or Magistrate Judge                                   ~.

              :Please refer to the Court's website at www.cacd.uscourts.gov fnr Local Rules, General Orders,and applicable forms.

G-106(6/12)                               ORDER TO STRIKE ELECTROHICALLY FILED DOCUMENTS)
